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                                     Gary Wayne Smith
                               Explosives Enforcement Officer
                             United States Department of Justice
                     Bureau of Alcohol, Tobacco, Firearms and Explosives
                                    Dallas Field Division
                                         Dallas, TX

   Duty Description

           Explosives Enforcement Officer (EEO) with the Bureau of Alcohol, Tobacco,
   Firearms and Explosives, assigned to the Dallas Field Division. Duties include
   supporting criminal investigations into violations of federal explosives laws with
   technical support and assistance. Technical support includes on site investigation
   assistance, examination of recovered evidence, as well as identification, reconstruction
   and testing of improvised bombs and other destructive devices.

   Professional Experience

   2005-present Explosives Enforcement Officer, Bureau of Alcohol, Tobacco, Firearms
                and Explosives.

                  Support criminal investigations into violations of the federal explosives
                  and arson laws with technical assistance and expert advice. Render safe
                  and dismantle explosive and incendiary devices in support of
                  investigations. Make determinations on explosives and
                  destructive/incendiary devices. Advise and assist on matters concerning
                  explosives in support of the regulatory responsibilities assigned to the
                  Bureau.

   2004           Explosive Ordnance Disposal Contractor, various UXO companies.

                  Conducted range clearance operations on formerly used defense sites
                  contaminated with unexploded ordnance, explosive ordnance residue and
                  other hazardous materials.

   1998 – 2004 Team Leader, U.S. Army, 761st Ordnance Company (Explosive
               Ordnance Disposal), Ft. Sill, OK.

                  Responsible for identification, render-safe, and disposal of U.S. and
                  foreign conventional, nuclear, biological and chemical ordnance, as well
                  as improvised explosive devices. Deployed to Kosovo in support of Task
                  Force Falcon KFOR-3B, and deployed to Iraq in support of Operation
                  Iraqi Freedom.




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 Professional Experience (Continued)

 1996-1998     Team Leader, U.S. Army, 705th Ordnance Company (EOD), Ft. Polk, LA.

               Responsible for identification, render-safe, and disposal of U.S. and foreign
               conventional, nuclear, biological, and chemical ordnance, as well as
               improvised explosive devices.

 1994-1995     Ammunition Specialist, HHB 1-78th Field Artillery Battalion, Ft. Sill, OK.

               Responsible for inspection, inventory, issuing, receiving, packaging and
               shipping U.S. military ordnance to basic training and advanced individual
               training units on station.

 1991-1994     Ammunition Specialist, HQ & A Company, 225th Forward Support
               Battalion, Schofield Barracks, HI.

               Responsible for inspection, inventory, issuing and receiving, packaging and
               shipping of U.S. military ordnance to using units on Oahu and Hawaii.

 Education/Training

 Advanced Improvised Explosive Device Disposal Course, September 2015, 2020
 Naval School Explosive Ordnance Disposal
 Eglin Air Force Base, FL

 ATF Certified Explosives Specialist Course, August 2014, 2021
 National Center for Explosives Training and Research
 Redstone Arsenal, AL

 TEEX Advanced Ordnance Recognition for Law Enforcement, June 2013
 Golden, CO

 ATF Homemade Explosives Course, May 2009
 Fort A.P. Hill, VA

 Electronics for Explosives Technicians Course, November 2007
 Dallas, TX

 FBI Bomb Technician Robotic Course, November 2006
 Redstone Arsenal, AL

 FBI Hazardous Devices Basic Course, November 2006, 2010, 2014, 2021
 Redstone Arsenal, AL




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  Education/Training (Continued)

  Large Vehicle Disruption Techniques Class, September 2006
  Denver, CO

  BATFE Advanced Explosives Destruction Techniques, August 2006
  Fort A.P. Hill, VA

  BATFE Chemistry of Pyrotechnics and Explosives Course, June 2006
  Chestertown, MD

  DHS Emergency Responder Hazardous Materials Technician Course, January 2006
  Anniston, AL

  Criminal Investigator Training Program, November 2005
  Federal Law Enforcement Training Center, Glynco, GA

  FBI Large Vehicle Bomb Post Blast Crime Scene School, August 2005
  Ft. Carson, CO

  Texas Basic Peace Officer Academy, December 2004
  Tarrant County College, Ft. Worth, TX

  Explosive Ordnance Disposal Refresher Training, March 2001
  Redstone Arsenal, AL

  Hazardous Materials and Waste Generator Compliance Course, December 2000
  Ft Sill, OK

  Advanced Explosive Ordnance Disposal Management and Technology Course, May 2000
  Indianhead, MD

  Advanced Access and Disablement Course, February 2000
  Indianhead, MD

  U.S. Army Combat Lifesaver Course, August 1999
  Ft. Sill, OK

  Basic Non-Commissioned Officers Course, May 1999
  Redstone Arsenal, AL

  Equal Opportunity Representative Course, March 1999
  Ft. Sill, OK




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             Education/Training (Continued)

             Explosive Ordnance Disposal Refresher Training, May 1998
             Redstone Arsenal, AL

             Radioactive Material Handling Safety Course, February 1998
             Ft. Polk, LA

             Environmental Compliance Officers Course, September 1997
             Ft. Polk, LA

             Nuclear, Biological and Chemical Defense Course, May 1996
             Ft. Polk, LA

             Primary Leadership Development Course, August 1996
             Ft. Polk, LA

             Explosive Ordnance Disposal Course, February 1996
             Redstone Arsenal, AL

             Air Assault Course, June 1992
             Schofield Barracks, HI

             Ammunition Specialist Primary Technical Course, August 1991
             Redstone Arsenal, AL

             U.S. Army Basic Training, July 1991
             Ft. Leonard Wood, MO

             Associate of Applied Sciences in Automotive Technology, 1990
             Texas State Technical College, Waco, TX

             Courses Instructed

             Homemade Explosives Identification, Process and Disposal
             Explosives Recognition
             Bomb Threat & Search Procedures
             Improvised Explosive Device Recognition Procedures
             Improvised Explosive Device Render Safe Procedures
             Booby-Trap Recognition
             Unexploded Ordnance Recognition and Disposal Procedures
             Unexploded Ordnance Marking and Protective Measures
             Radiographic Techniques and Procedures
             Bomb Disposal Tools and Equipment
             Explosive Ordnance Disposal Robotics



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    Expert Testimony in the last four years

    Federal: Roswell, NM, District of New Mexico, 5/09/2023
                  ATF Case 781126-21-0003, US v Troy Don Teston, CR 22-1400 JB
    Federal: Alexandria, LA, Western District of Louisiana, 11/14/2022
                  ATF Case 777011-20-0022, 777011-20-0024, 777050-19-0211
                  US v Daniel D. Aikens, 20-CR-00023
    Federal: San Diego, CA, Southern District of California, 5/10/2021
                  ATF Case 784040-20-0008, US v Zachary A Karas, 20CR1842-DMS
    Federal: Marshall, TX, Eastern District of Texas, 11/16/2020
                  ATF Case 781070-19-0092, US v Thomas Harbarger, 2:19-CR-16
    State: Conway, AR, 6/16/2020
                  ATF Case 777025-19-0129, AR v Blake Austin Danner, 2019-619

    Professional Associations

    Member, International Association of Bomb Technicians and Investigators since 2005




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